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                       IN THE UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                             :

          v.                                         :       CRIMINAL NO. 19-64

JOHN DOUGHERTY                                        :

ROBERT HENON                                         :


                                    PROTECTIVE ORDER

         AND NOW, this          day of                2022, upon consideration of the

Government=s Motion for a Protective Order with respect to certain specific materials related to

investigative information provided by a confidential informant, it is hereby ORDERED that the

motion is GRANTED.

         It is FURTHER ORDERED, pursuant to Rule 16(d)(1) of the Federal Rules of Criminal

Procedure, that defense counsel may make such use of the materials and information that are the

subject of this motion as is necessary to prepare for any post-trial motions, sentencing, and

appeal, pursuant to the terms of this order. Any counsel, defendant, or other person to whom

disclosure is made pursuant to this Order may not use the materials or information for any other

purpose, and may not disclose the materials or information contained in the materials to any third

party.

         It is FURTHER ORDERED that other than the defendants, the materials may not be

disclosed to anyone outside of the law firms of defense counsel. The defendants may inspect and

review the materials in the offices and in the presence of their attorneys, but may not possess


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copies of the materials, nor shall they photograph, copy, capture by video, or reproduce the

materials in any way.

       Defense counsel shall maintain a log of every person to whom disclosure of the discovery

materials is made and shall provide a copy of this order to every such person.


                                              BY THE COURT:



                                              HONORABLE JEFFREY L. SCHMEHL
                                              United States District Court Judge




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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                             :

         v.                                          :               CRIMINAL NO. 19-64

JOHN DOUGHERTY                                       :

ROBERT HENON                                         :


                MOTION OF THE UNITED STATES OF AMERICA
                 FOR A PROTECTIVE ORDER PURSUANT TO
              FEDERAL RULE OF CRIMINAL PROCEDURE 16(d)(1)

       The United States of America, through its attorneys, Jacqueline C. Romero, United

States Attorney, and the undersigned attorneys, respectfully requests that the Court enter a

protective order, pursuant to Federal Rule of Criminal Procedure 16(d)(1), limiting the

access and use of certain specific materials related to investigative information provided

by a confidential informant (CI) that the government is prepared to produce to defense

counsel under the terms of such an order, and in support of its motion, avers as follows:

               1.      On May 5, 2022, defendant Brian Burrows filed a motion for an

order requiring the government to disclose material pertaining to a Confidential

Informant (CI) who had made a recording that the government intends to use at trial in a

separate extortion case, United States v. John Dougherty et al, Cr. 21-65. Doc. 330.

               2.      On May 18, 2022, defendant Marita Crawford filed a motion to

join in defendant Burrows’ motion. Doc. 333.




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                3.      Following the commencement of in camera review of the CI

materials, in a Court conference on May 6, 2022, in Case 21-65, the government agreed

to produce to the defense in that case, under certain conditions, transcripts of certain

recordings made by the CI.

                4.      On or about May 19, 2022, this Court, in Case 21-65, approved

and entered a protective order limiting the access to and use of the CI recording

transcripts in that case.

                5.      On or about May 25, 2022, the government requested a protective

order in this case related to defendant Henon, (Docket Entry No. 337), whose trial

occurred in the fall of 2021, so that it could share the CI transcripts with defendant

Henon. On June 8, 2022, this Court entered a protective order applicable to defendant

Henon. Docket Entry No. 338. The CI transcripts were thereafter made available to

defendant Henon.

                6.      On or about June 17, 2022, in Cr 21-65, defendant John Dougherty

filed a Motion to Compel Disclosure of Information Related to The Government’s Use of

a Confidential Informant. The government thereafter made certain specific disclosures

related to investigative information provided by a CI 1 pursuant to a protective order

covering those materials entered by this Court on or about July 11, 2022 (Docket Entry

No. 114).



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          The information disclosed by the government was information that either: 1) the
government determined might fit into the defense’s expansive view of what could potentially be
relevant to the extortion case and discoverable in some way, and that could be disclosed without
revealing the identity of the CI, or 2) the Court, after in camera review, ordered the government
to disclose to the defendants in Cr. 21-65.
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               7.      In light of defendants Dougherty’s and Henon’s convictions in the

instant case in November of 2021, and in view of defendant Dougherty’s extremely

expansive view of what would be considered relevant to the matter set for trial in Cr. 21-

65, the government has reviewed the information provided by the CI that was noted in

investigative “source reports,” and has identified several pieces of information that the

defendants in this case might, in an extremely expansive view, regard as potentially

relevant to the trial in this case at which Dougherty and Henon were convicted in

November 2021. With appropriate protections, the government is prepared to disclose

this information to defendants Dougherty and Henon. 2

               8.      Absent a protective order, the materials that the government is

prepared to disclose could be used to compromise the physical and economic safety and

security of the CI, or of other individuals identified in the materials.

               9.      To protect the safety of the CI, as well as the privacy interests of

persons who are identified in the materials, as well as the safety and privacy interests of

the individuals who testified or were interviewed by law enforcement agents in

connection with this case and Indictment No. 21-65, the government respectfully requests

that the Court enter a protective order limiting the access and use of the materials to the

preparation for and use at in post-trial motions, sentencing, and appeal.




       2
           The government intends to provide the same materials to the Court, so that Court will
know, in conducting any in camera review for purposes of any post-trial motions, what materials
or information have already been disclosed to defendants Dougherty and Henon with respect to
the case tried in October and November 2021.
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               10.     The proposed order prohibits defense counsel from providing

copies of the materials to the defendants, or allowing the defendants to photograph, copy,

capture by video, or reproduce the materials in any way, or review the materials alone.

The proposed order also prohibits counsel from disclosing the materials or information to

anyone other than the defendants and employees of their law firms and requires that

defense counsel maintain a log of and provide a copy of the protective order to every

person to whom disclosure of the materials is made.

               11.     Rule 16(d)(1) of the Federal Rules of Criminal Procedure provides

that the Court may Afor good cause, deny, restrict or defer discovery or inspection, or

grant other appropriate relief.@ Fed. R. Crim. P. 16(d)(1). The Supreme Court has noted

that courts may use protective orders to restrict the use of materials produced in

discovery:

               [T]he trial court can and should, where appropriate, place a
               defendant and his counsel under enforceable orders against
               unwarranted disclosure of the materials which they may be entitled
               to inspect.

Alderman v. United States, 394 U.S. 165, 185 (1969). Cf. United States v. McDade, 1994 WL

161243, *3-*5 (E.D. Pa. April 15, 1994) (limiting use of criminal deposition Asolely for the

preparation and conduct of the proceeding@ and prohibiting any further disclosure). In United

States v. Smith, 776 F.2d 1104, 1114 (3d Cir. 1985), which involved a motion for press access to

a bill of particulars naming unindicted coconspirators, even though the Court of Appeals

acknowledged that Athe public has a substantial interest in the integrity or lack of integrity of

those who serve them in public office,@ it denied the motion, holding that Athe risk of serious



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injury to third parties from disclosure outweighs the interest of the public in access to this limited

segment of the bill of particulars.@

               12.     The materials that are the subject of the instant motion are arguably

discovery, which will be furnished to defense counsel solely to aid their preparation for post-trial

proceedings and sentencing. Although some of the information in this discovery may be subject

to public disclosure if it is subsequently introduced in court or in pleadings, at this stage of the

proceedings, the discovery materials at issue are not trial evidence; they are investigatory

materials for which no right of access exists or should be created.

               13.     Counsel for defendant Henon has indicated that defendant Henon does not

object to the entry of the proposed order. Counsel for defendant Dougherty has not responded

to the government’s request for defendant Dougherty’s position (although the government notes

that this protective order is substantially the same as orders to which defendant Dougherty,

through counsel, agreed in Cr. 21-65).

               WHEREFORE, for the reasons stated above, the government respectfully requests




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that the Court enter a protective order, pursuant to Rule 16(d)(1), in the form of the proposed

order attached to this motion.



                                          Respectfully submitted,

                                          JACQUELINE C. ROMERO
                                          United States Attorney

                                          /s/ Bea L. Witzleben
                                          FRANK R. COSTELLO, JR.
                                          BEA L. WITZLEBEN
                                          Assistant United States Attorneys




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                                 CERTIFICATE OF SERVICE


               This is to certify that I have caused to be delivered by electronic filing to the

Clerk of Court (resulting in an e-mail copy sent to counsel by the Clerk of Court), a true and

correct copy of the within motion, to the following counsel:


Henry Hockeimer
Counsel for Defendant John Dougherty

Brian J. McMonagle, Esquire
& Catherine M. Recker, Esquire

       Counsel for Defendant Robert Henon


                                              /s/ Bea L. Witzleben
                                              BEA L. WITZLEBEN
                                              Assistant United States Attorney


Date: August 24, 2022




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